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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 No. 4:97CR00243-02 JLH

DANIEL LEWIS LEE                                                                  DEFENDANT

                                            ORDER

       The motion for appointment of co-counsel is GRANTED. Document #1253. It is hereby

ordered that Morris H. Moon, an Assistant Federal Defender with the Federal Capital Habeas

Project, is appointed as co-counsel pursuant to 18 U.S.C. § 3599(a)(2) to assist with defendant’s

post-conviction representation.

       IT IS SO ORDERED this 5th day of May, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
